Case 8:16-cr-00292-E_K-AEP Document 110 Filed 06/23/17 Page 1 of 5 PageID 349
Case 8:16-cr-00292-E_K-AEP Document 110 Filed 06/23/17 Page 2 of 5 PageID 350
Case 8:16-cr-00292-E_K-AEP Document 110 Filed 06/23/17 Page 3 of 5 PageID 351
Case 8:16-cr-00292-E_K-AEP Document 110 Filed 06/23/17 Page 4 of 5 PageID 352
Case 8:16-cr-00292-E_K-AEP Document 110 Filed 06/23/17 Page 5 of 5 PageID 353
